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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DERRICK WHEATT, et al.,                          )   NO.: 1:17-CV-0377
                                                 )   NO.: 1:17-CV-611 (Consolidated)
                      Plaintiffs,                )
                                                 )   Judge James S. Gwin
               v.                                )
                                                 )   Magistrate Judge
CITY OF EAST CLEVELAND, et al.,                  )   William H. Baughman, Jr.
                                                 )
                      Defendants.                )

                             DEFENDANTS’ STATUS REPORT

               Defendants, the City of East Cleveland, John C. Bradford, Terrence Dunn,

Vincent K. Johnstone, Patricia Lane, D. J. Miklovich, Michael C. Perry and Charles Teel, by and

through their undersigned counsel, hereby submit their Status Report, in compliance with the

Court’s Order dated June 15, 2018:

       1.      The interlocutory appeals of Defendants Camen Marinio, Deborah Naiman, John

C. Bradford, Terrence Dunn, Vincent K. Johnstone, Patricia Lane, D. J. Miklovich, Michael C.

Perry, Charles Teel are currently pending. The appeals have been fully briefed, and the appeals

were originally scheduled for oral argument on March 15, 2018. Before that date, the panel

cancelled oral argument and submitted the case for decision on the briefs.

       2.      Apparently, Derrick Wheatt, Laurese Glover and Eugene Johnson and Defendants

Carmen Marino and Deborah Naiman (County Defendants”) have reached a complete settlement

agreement.
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 3.    The City of East Cleveland Defendants are not part of any settlement agreement.

                                    Respectfully submitted,


                                    /s/ Willa M. Hemmons
                                    Willa M. Hemmons (0041790)
                                    Director of Law
                                    City of East Cleveland
                                    14340 Euclid Avenue
                                    East Cleveland, Ohio 44112

                                    COUNSEL FOR
                                    City of East Cleveland, John C. Bradford, Terrence
                                    Dunn, Vincent K. Johnstone, Patricia Lane, D. J.
                                    Miklovich, Michael C. Perry and Charles Teel




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                                 CERTIFICATE OF SERVICE

       A copy of the East Cleveland Defendants’ Status Report was electronically filed with the

Court on this 22nd day of June, 2018; and that by operation of this Court’s electronic notification

system a copy thereof is made available to all registered parties.

                                              Respectfully submitted,


                                              /s/ Willa M. Hemmons
                                              Willa M. Hemmons (0041790)
                                              Director of Law
                                              City of East Cleveland
                                              14340 Euclid Avenue
                                              East Cleveland, Ohio 44112

                                              COUNSEL FOR
                                              City of East Cleveland, John C. Bradford, Terrence
                                              Dunn, Vincent K. Johnstone, Patricia Lane, D. J.
                                              Miklovich, Michael C. Perry and Charles Teel




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